  Case 16-32021                Doc 286           Filed 07/18/18 Entered 07/18/18 12:13:10                                    Desc Main
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